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                                                 12/29/22, 7:28 AM
                                         Kayla’s iPad

                                         That’s not reassuring! See you Tuesday

                                                 12/29/22, 7:17 AM
                                         Kayla’s iPad

                                         Ewww are you hand delivering anymore letters lol

                                                 12/29/22, 7:16 AM
                                         Kayla’s iPad

                                         Good.

                                                 12/29/22, 7:16 AM
862352

Yes

                                                 12/29/22, 7:16 AM
                                         Kayla’s iPad

                                         Tuesday?

                                                 12/29/22, 7:16 AM
862352

Yes

                                                 12/29/22, 7:15 AM
                                         Kayla’s iPad

                                         Are you coming next week?

                                  12/29/22, 6:27 AM (Viewed 12/29/22, 6:28 AM)
862352

Ok

                                                 12/29/22, 6:25 AM
                                         Kayla’s iPad

                                         Maybe the pr firm can start writing that up for my attorney to go over. The only things I feel fair
                                         are
                                         1. Neither looks bad
                                         2. People are told where they can find me, that’s only fair. Posted on all platforms that hk says
                                         they own.
                                         3. I’m allowed to tell my story in a non negative light. I really might write a book! I would
                                         NEVER smear hk or Jerome ever ever

                                         just so you know my thoughts

                                                 12/29/22, 6:22 AM
862352

Of course

                                                 12/29/22, 6:22 AM
                                         Kayla’s iPad

                                         You do know at some point we can’t just sweep my leaving hk under the rug to customers

                                                 12/29/22, 6:18 AM
862352

Good!!

                                                 12/29/22, 6:17 AM
                                         Kayla’s iPad

                                         As shitty as this situation is, I believe you saved me from being mediocre with HK.
                                         I have a lot bigger basement for round 2




                                                        11
                                              EXHIBIT 15                                                           KM5950
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                                                       12/29/22, 6:16 AM (Viewed 12/29/22, 6:17 AM)
8623520947

Sure u don’t need to thank me

                                                                        12/29/22, 6:15 AM
                                                               Kayla’s iPad

                                                               I know it’s not your job, or personality but thank you. Sorry for the chaos you didn’t sign up for

                                                                        12/29/22, 6:08 AM
8623520947

Push him

                                                                        12/29/22, 6:08 AM
8623520947

No. It’s not relevant

                                                                        12/29/22, 6:08 AM
                                                               Kayla’s iPad

                                                               That we owe 1.9 million 😵

                                                                        12/29/22, 6:07 AM
                                                               Kayla’s iPad

                                                               I think he’s waiting for the audit to be done, don’t you?

                                                                        12/29/22, 6:07 AM
                                                               Kayla’s iPad

                                                               Got it

                                                                        12/29/22, 6:06 AM
862352

He will look at the past 4 years preformance and base his offer on that

                                                                        12/29/22, 6:04 AM
                                                               Kayla’s iPad

                                                               I don’t understand that?

                                                                        12/29/22, 6:04 AM
862352

Will not make a difference let him send u an offer

                                                                        12/29/22, 6:04 AM
862352

No

                                                                        12/29/22, 6:03 AM
                                                               Kayla’s iPad

                                                               Should we wait for the end of the year? To see how much we didn’t make lol

                                                                        12/29/22, 6:02 AM
862352

Email him that u want to get this done asap and please give u an offer

                                                                        12/29/22, 6:01 AM
862352

That’s not how it is going to go

                                                                        12/29/22, 6:01 AM
                                                               Kayla’s iPad

                                                               I just need Jerome to tell me the business is worth nothing and send me on my way. I know
                                                                how it will go.




                                                                               12
                                                                                                                                        KM5951
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                                                                       11/22/22, 6:53 AM
862352

We need to figure out the freight out. I’m calling dusty now

                                                                       11/22/22, 6:50 AM
                                                               Kayla’s iPad

                                                               For way less. I trust you. Just confused that’s all.

                                                        11/22/22, 6:48 AM (Viewed 11/22/22, 6:49 AM)
862352

Yes I know

                                                                       11/22/22, 6:47 AM
                                                               Kayla’s iPad

                                                               Ok. I just don’t understand because this is what we were doing. That’s all.

                                                                       11/22/22, 6:47 AM
862352

I want to digest new customer strategy.

                                                                       11/22/22, 6:46 AM
862352

No right now focus on existing

                                                                       11/22/22, 6:46 AM
                                                               Kayla’s iPad

                                                               So it’s not existing people?

                                                                       11/22/22, 6:46 AM
                                                               Kayla’s iPad

                                                               Do we need to adjust how they push it out to audiences?

                                                                       11/22/22, 6:46 AM
                                                               Kayla’s iPad

                                                               Like you said we were doing with FB

                                                                       11/22/22, 6:45 AM
                                                               Kayla’s iPad

                                                               So this is existing customers

                                                                       11/22/22, 6:45 AM
                                                               Kayla’s iPad

                                                               File attachment with MIME type: image/png

                                                                       11/22/22, 6:45 AM
                                                               Kayla’s iPad

                                                               File attachment with MIME type: image/png

                                                                       11/21/22, 8:32 PM
                                                               Kayla’s iPad

                                                               Night

                                                                       11/21/22, 8:31 PM
862352

GN

                                                                       11/21/22, 8:30 PM
862352

Ok




                                                                              50
                                                                                                                                      KM5989
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                                              11/21/22, 11:55 AM
                                        Kayla’s iPad

                                        Would you like to be on the meeting at 2 for this?

                                              11/21/22, 10:22 AM
862352

Ok

                                              11/21/22, 10:18 AM
                                        Kayla’s iPad

                                        But we have to disagree in conversation together

                                              11/21/22, 10:18 AM
                                        Kayla’s iPad

                                        We can disagree all day long!!!!!

                                              11/21/22, 10:18 AM
                                        Kayla’s iPad

                                        I told him I don’t work for you, and you’re not my boss. 😏 that you and I have to do this
                                         together.

                                              11/21/22, 10:17 AM
                                        Kayla’s iPad

                                        And how I need us to work as a team.

                                              11/21/22, 10:17 AM
862352

Agreed

                                              11/21/22, 10:17 AM
                                        Kayla’s iPad

                                        Is it revenue, new customers, profit, we can’t have it all. We have to start with one to lead into
                                         each other

                                              11/21/22, 10:17 AM
                                        Kayla’s iPad

                                        It’s the blind leading the blind

                                              11/21/22, 10:17 AM
                                        Kayla’s iPad

                                        I just basically voiced my concerns and said we have to come up with goals and plans

                                              11/21/22, 10:16 AM
                                        Kayla’s iPad

                                        To talk to him

                                              11/21/22, 10:16 AM
                                        Kayla’s iPad

                                        No I took your advice

                                11/21/22, 10:09 AM (Viewed 11/21/22, 10:16 AM)
862352

What’s his advice

                                              11/21/22, 10:04 AM
                                        Kayla’s iPad

                                        I took your talk to Jerome advice

                                              11/21/22, 10:02 AM
                                        Kayla’s iPad

                                        I flew to Miami yesterday



                                                         57
                                                                                                                 KM5996
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                                              11/7/22, 6:22 AM
                                       Kayla’s iPad

                                       Are you out running?

                                              11/7/22, 4:15 AM
                                       Kayla’s iPad

                                       And also it’s 4 am in Colorado and I’m wide awake like it’s 10am #

                                              11/7/22, 4:14 AM
                                       Kayla’s iPad

                                       But 2. I’ll tell you Monday when you come next week. I gotta do some research

                                              11/7/22, 4:13 AM
                                       Kayla’s iPad

                                       1. We need a social media manager

                                              11/7/22, 4:12 AM
8623520947

Sure

                                              11/6/22, 6:24 PM
                                       Kayla’s iPad

                                       That I think anyways… well dusty also

                                              11/6/22, 6:24 PM
                                       Kayla’s iPad

                                       Want to know the path for Hk…

                                              11/3/22, 12:05 PM
                                       Kayla’s iPad

                                       Haha he will

                                              11/3/22, 12:05 PM
862352

Maybe he will never come to NC

                                              11/3/22, 12:04 PM
                                       Kayla’s iPad

                                       You will

                                              11/3/22, 12:00 PM
862352

I’ve never met him

                                              11/3/22, 12:00 PM
                                       Kayla’s iPad

                                       But I’m here lol

                                              11/3/22, 12:00 PM
                                       Kayla’s iPad

                                       She’s cute for sure

                                              11/3/22, 12:00 PM
                                       Kayla’s iPad

                                       File attachment with MIME type: image/png

                                              11/3/22, 12:00 PM
862352

His wife is pretty




                                                      73
                                                                                                            KM6012
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                                             11/3/22, 11:59 AM
8623520947

Long trip

                                             11/3/22, 11:59 AM
                                      Kayla’s iPad

                                      I wanna be there ha

                                             11/3/22, 11:59 AM
862352

Bryan is in Israel

                                             11/3/22, 11:59 AM
862352

U should go!!

                                             11/3/22, 11:59 AM
                                      Kayla’s iPad

                                      This has been hard on me. But I knew for HK we didn’t have a choice

                                             11/3/22, 11:58 AM
                                      Kayla’s iPad

                                      I need to go home: I miss my family really bad.

                                             11/3/22, 11:58 AM
862352

Ok good

                                             11/3/22, 11:58 AM
                                      Kayla’s iPad

                                      Yes

                                             11/3/22, 11:58 AM
                                      Kayla’s iPad

                                      And flying back Saturday

                                             11/3/22, 11:58 AM
862352

Flying right?

                                             11/3/22, 11:58 AM
                                      Kayla’s iPad

                                      Sunday

                                             11/3/22, 11:57 AM
862352

When r u going to Colorado?

                                             11/3/22, 11:57 AM
                                      Kayla’s iPad

                                      For sure!

                                             11/3/22, 11:57 AM
862352

It’s just annoying at this point

                                             11/3/22, 11:56 AM
                                      Kayla’s iPad

                                      My back and ribs hurt so bad from coughing




                                                     74
                                                                                                            KM6013
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                                                       11/3/22, 11:56 AM
862352

Doubt they can

                                                       11/3/22, 11:56 AM
                                                Kayla’s iPad

                                                I hope they can help you

                                                       11/3/22, 11:56 AM
862352

Trying to get something for this cough

                                                       11/3/22, 11:55 AM
862352

Sure

                                                       11/3/22, 11:54 AM
                                                Kayla’s iPad

                                                Thank you

                                                       11/3/22, 11:43 AM
862352

Ur word is fine

                                                       11/3/22, 11:43 AM
                                                Kayla’s iPad

                                                Lol I need proof so I feel better hahaha

                                                       11/3/22, 11:42 AM
862352

I know ur honest

                                                       11/3/22, 11:42 AM
862352

I believe u. Don’t need proof

                                                       11/3/22, 11:42 AM
                                                Kayla’s iPad

                                                Not that I am aware of

                                                       11/3/22, 11:42 AM
                                                Kayla’s iPad

                                                https://vm.tiktok.com/ZMFD3vYLt/
                                                (Sent with URL)

                                                       11/3/22, 11:42 AM
                                                Kayla’s iPad

                                                This is the photography studio! Dusty built it for this! It’s ONLY used for photos

                                                       11/3/22, 11:42 AM
862352

I just told her to pay it

                                                       11/3/22, 11:42 AM
862352

Is she right that Yvelisse never issued a K1?

                                                       11/3/22, 11:41 AM
862352

Don’t worry about it




                                                               75
                                                                                                                         KM6014
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                                                                    11/3/22, 11:41 AM
862352

I just texted her to pay it

                                                                    11/3/22, 11:40 AM
                                                             Kayla’s iPad

                                                             There’s people there today! Haha

                                                                    11/3/22, 11:40 AM
                                                             Kayla’s iPad

                                                             File attachment with MIME type: image/png

                                                                    11/3/22, 11:40 AM
                                                             Kayla’s iPad

                                                             File attachment with MIME type: image/png

                                                                    11/3/22, 11:40 AM
862352

I’ll take care of it

                                                                    11/3/22, 11:39 AM
                                                             Kayla’s iPad

                                                             She won’t pay because she’s questing it haha

                                                                    11/3/22, 11:39 AM
862352

Ok I’ll make sure she pays it

                                                                    11/3/22, 11:39 AM
                                                             Kayla’s iPad

                                                             Lol that’s what brought it up

                                                                    11/3/22, 11:39 AM
                                                             Kayla’s iPad

                                                             No

                                                                    11/3/22, 11:39 AM
862352

Did they pay this month?

                                                                    11/3/22, 11:39 AM
862352

Don’t worry about it. She’s a stickler for details.

                                                                    11/3/22, 11:38 AM
                                                             Kayla’s iPad

                                                             Kk I just want you to know what it’s for

                                                                    11/3/22, 11:38 AM
862352

I think she just wanted the back up because Yvelisse never issued a K1

                                                                    11/3/22, 11:38 AM
                                                             Kayla’s iPad

                                                             We bought it because HK didn’t have the money and we needed it so we spent the money

                                                                    11/3/22, 11:38 AM
                                                             Kayla’s iPad

                                                             And we rent the fork lift that we paid for personally and Dusty maintains it and it’s used daily
                                                             here




                                                                            76
                                                                                                                                      KM6015
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                                                   26
                                             11/3/22, 9:26 AM
                                            Kayla’s iPad

                                            Lol I know I’ve told everyone you getting covid was a good break 😏😏😏😏

                                                    11/3/22, 9:26 AM
862352

Cough is bad everything else is good

                                                    11/3/22, 9:26 AM
                                            Kayla’s iPad

                                            How are you feeling?

                                                    11/3/22, 9:26 AM
862352

Can’t yell cause I’m coughing too much

                                                    11/3/22, 9:26 AM
862352

Good point

                                                    11/3/22, 9:26 AM
                                            Kayla’s iPad

                                            Jk jk

                                                    11/3/22, 9:26 AM
                                            Kayla’s iPad

                                            It’s cause I haven’t been yelled at for a few weeks hahahaha

                                                    11/3/22, 9:25 AM
                                            Kayla’s iPad

                                            Thanks #

                                                    11/3/22, 9:24 AM
862352

Pretty

                                                    11/3/22, 9:23 AM
862352

Nice live!!!!!! U look really good

                                                    11/2/22, 10:40 PM
                                            Kayla’s iPad

                                            It’s the new site home page

                                                    11/2/22, 10:38 PM
862352

I didn’t see it. Will look in the morning

                                                    11/2/22, 10:38 PM
                                            Kayla’s iPad

                                            It looks great

                                                    11/2/22, 10:38 PM
                                            Kayla’s iPad

                                            Did you see the website

                                                    11/2/22, 10:37 PM
                                            Kayla’s iPad

                                            Yes




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                                                                                                             KM6017
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                                                   26
                                             9/15/22, 7:34 PM
                                        Kayla’s iPad

                                        Ohhhh you will soon!

                                                 9/15/22, 7:33 PM
862352

No

                                                 9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        You haven’t??!!

                                                 9/15/22, 7:33 PM
862352

I’ve never met him in person

                                                 9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        Hahaha

                                                 9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        Yes!

                                                 9/15/22, 7:33 PM
862352

Does he have hair now?

                                                 9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        So far

                                                 9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        They did for him!

                                                 9/15/22, 7:33 PM
862352

Plugs don’t work right?

                                                 9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        I think he is genetically thick yes

                                                 9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        Hahahahaha

                                                 9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        She said you can’t be fat and bald

                                                 9/15/22, 7:33 PM
862352

No way!!

                                                 9/15/22, 7:33 PM
862352

Is he genetically fat




                                                       97
                                                                                 KM6036
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                                                   26
                                             9/15/22, 7:33 PM
                                        Kayla’s iPad

                                        He was bald…. And his wife made him get hair plugs

                                               9/15/22, 7:32 PM
                                        Kayla’s iPad

                                        He goes back and forth

                                               9/15/22, 7:32 PM
862352

Is Bryan chubby?

                                               9/15/22, 7:32 PM
862352

Wallet makes them look good

                                               9/15/22, 7:32 PM
                                        Kayla’s iPad

                                        Yeah, it’s a social stigma for sure

                                               9/15/22, 7:32 PM
862352

Chubby men too unless they r rich

                                               9/15/22, 7:31 PM
                                        Kayla’s iPad

                                        I agree. But chubby women do not get treated the same

                                               9/15/22, 7:31 PM
862352

That’s kind of sad

                                               9/15/22, 7:31 PM
862352

Interesting

                                               9/15/22, 7:31 PM
                                        Kayla’s iPad

                                        10000000%

                                               9/15/22, 7:31 PM
862352

Really?

                                               9/15/22, 7:31 PM
                                        Kayla’s iPad

                                        Yeah for sure I agree. I’ve noticed people treat me different and engage more with me being
                                        thinner

                                               9/15/22, 7:31 PM
                                        Kayla’s iPad

                                        Easy

                                               9/15/22, 7:30 PM
862352

Ur the brand so u need to look good

                                               9/15/22, 7:30 PM
                                        Kayla’s iPad

                                        I know surgery seems the east way out but it saved me




                                                       98
                                                                                                             KM6037
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                                                   26
                                             9/15/22, 7:30 PM
                                           Kayla’s iPad

                                           Thanks!

                                     9/15/22, 7:29 PM (Viewed 9/15/22, 7:30 PM)
8623520947

Well u look great now

                                                  9/15/22, 7:29 PM
                                           Kayla’s iPad

                                           It was depressing!

                                                  9/15/22, 7:29 PM
                                           Kayla’s iPad

                                           Haha I was for a brief moment

                                                  9/15/22, 7:29 PM
8623520947

I would never know u were fat

                                                  9/15/22, 7:29 PM
                                           Kayla’s iPad

                                           Until I didn’t know how to manage my stress

                                                  9/15/22, 7:29 PM
                                           Kayla’s iPad

                                           Like my size now…

                                                  9/15/22, 7:29 PM
862352

Ur a kid

                                                  9/15/22, 7:29 PM
                                           Kayla’s iPad

                                           I was small my whole life

                                                  9/15/22, 7:29 PM
862352

U will be fine

                                                  9/15/22, 7:28 PM
862352

Ur young

                                                  9/15/22, 7:28 PM
                                           Kayla’s iPad

                                           Yes

                                                  9/15/22, 7:28 PM
862352

3 years 65 pounds

                                                  9/15/22, 7:28 PM
                                           Kayla’s iPad

                                           That’s bad on your heart

                                                  9/15/22, 7:28 PM
862352

That’s nuts




                                                          99
                                                                                         KM6038
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                                                   26
                                             9/15/22, 7:28 PM
                                                          Kayla’s iPad

                                                          How insane is that

                                                                 9/15/22, 7:28 PM
                                                          Kayla’s iPad

                                                          I gained 65 lbs from when I sold hk to last November

                                                                 9/15/22, 7:28 PM
                                                          Kayla’s iPad

                                                          Neither is good

                                                                 9/15/22, 7:28 PM
862352

Food is better than alcohol

                                                                 9/15/22, 7:27 PM
                                                          Kayla’s iPad

                                                          And he used to drink when he was younger

                                                                 9/15/22, 7:27 PM
                                                          Kayla’s iPad

                                                          He will have a beer occasionally

                                                                 9/15/22, 7:27 PM
                                                          Kayla’s iPad

                                                          I just know I was addicted to food… so I didn’t want to be addicted to something else

                                                                 9/15/22, 7:27 PM
862352

Dusty doesn’t drink a beer?

                                                                 9/15/22, 7:27 PM
862352

Wine is relaxing in moderation

                                                                 9/15/22, 7:27 PM
862352

Oh so u should stay away

                                                                 9/15/22, 7:27 PM
                                                          Kayla’s iPad

                                                          So never appealed to me

                                                                 9/15/22, 7:26 PM
                                                          Kayla’s iPad

                                                          My dad is an alcoholic, (my real dad)

                                                                 9/15/22, 7:26 PM
862352

Now

                                                                 9/15/22, 7:26 PM
862352

I can’t drink it cause it gives me massive headaches is

                                                                 9/15/22, 7:26 PM
862352

I use to love wine




                                                                         100
                                                                                                                                KM6039
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                                                   26
                                             9/15/22, 7:26 PM
                                        Kayla’s iPad

                                        That’s how lame I am

                                               9/15/22, 7:26 PM
                                        Kayla’s iPad

                                        Haha

                                               9/15/22, 7:26 PM
                                        Kayla’s iPad

                                        I’ve never even tasted wine

                                               9/15/22, 7:26 PM
862352

Beer

                                               9/15/22, 7:26 PM
862352

Wine especially

                                               9/15/22, 7:25 PM
862352

Which is fattening

                                               9/15/22, 7:25 PM
                                        Kayla’s iPad

                                        None

                                               9/15/22, 7:25 PM
                                        Kayla’s iPad

                                        No

                                               9/15/22, 7:25 PM
862352

And u don’t drink alcohol

                                               9/15/22, 7:25 PM
                                        Kayla’s iPad

                                        Yes

                                               9/15/22, 7:25 PM
862352

U must of ate a lot

                                               9/15/22, 7:25 PM
                                        Kayla’s iPad

                                        No, it was stress

                                               9/15/22, 7:25 PM
862352

U r not born to be fat

                                               9/15/22, 7:25 PM
                                        Kayla’s iPad

                                        😏😏😏😏😏

                                               9/15/22, 7:25 PM
                                        Kayla’s iPad

                                        Laughed at “Oh gross”




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                                                                                 KM6040
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                                       26
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                                                   26
                                             9/15/22, 7:23 PM
                                           Kayla’s iPad

                                           I don’t think I could do another Mexico survey

                                                   9/15/22, 7:22 PM
8623520947

Ok good

                                                   9/15/22, 7:22 PM
                                           Kayla’s iPad

                                           For real I’m going in charlotte

                                                   9/15/22, 7:22 PM
                                           Kayla’s iPad

                                           NEVER

                                                   9/15/22, 7:22 PM
                                           Kayla’s iPad

                                           But! I lived to tell about it 75 lbs lighter

                                                   9/15/22, 7:22 PM
8623520947

Don’t get a boob job there

                                                   9/15/22, 7:22 PM
                                           Kayla’s iPad

                                           I mean, it was a little sketch

                                                   9/15/22, 7:22 PM
                                           Kayla’s iPad

                                           😏

                                                   9/15/22, 7:22 PM
862352

Ur nuts

                                                   9/15/22, 7:22 PM
862352

Omg

                                                   9/15/22, 7:21 PM
                                           Kayla’s iPad

                                           That was it

                                                   9/15/22, 7:21 PM
                                           Kayla’s iPad

                                           File attachment with MIME type: image/png

                                                   9/15/22, 7:21 PM
                                           Kayla’s iPad

                                           Bed for me! Bed for dusty!

                                                   9/15/22, 7:21 PM
                                           Kayla’s iPad

                                           Yes he went

                                     9/15/22, 7:19 PM (Viewed 9/15/22, 7:20 PM)
862352

Dusty was there?




                                                           103
                                                                                            KM6042
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                                                   26
                                             9/15/22, 7:19 PM
                                        Kayla’s iPad

                                        Ha

                                                9/15/22, 7:19 PM
                                        Kayla’s iPad

                                        No TV

                                                9/15/22, 7:19 PM
862352

Tv?

                                                9/15/22, 7:19 PM
                                        Kayla’s iPad

                                        Private room! Paid $50 extra LOL

                                                9/15/22, 7:19 PM
                                        Kayla’s iPad

                                        Your iv bag was a drip bag on a pole

                                                9/15/22, 7:19 PM
862352

Private room?

                                                9/15/22, 7:19 PM
                                        Kayla’s iPad

                                        Like nothing is electronic

                                                9/15/22, 7:19 PM
                                        Kayla’s iPad

                                        Yeah! Just they are soooo simple

                                                9/15/22, 7:18 PM
862352

Was it nice?

                                                9/15/22, 7:18 PM
                                        Kayla’s iPad

                                        No I’m charlotte

                                                9/15/22, 7:18 PM
                                        Kayla’s iPad

                                        Yes it was a hospital

                                                9/15/22, 7:18 PM
862352

In Mexico??

                                                9/15/22, 7:18 PM
                                        Kayla’s iPad

                                        Hahahahahahah JK

                                                9/15/22, 7:18 PM
                                        Kayla’s iPad

                                        No it was a basement

                                                9/15/22, 7:18 PM
862352

In a hospital?




                                                       104
                                                                                 KM6043
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                                                   26
                                             9/15/22, 7:18 PM
                                        Kayla’s iPad

                                        I legit have an appt for a boob job in January

                                                  9/15/22, 7:18 PM
8623520947

That’s crazy

                                                  9/15/22, 7:18 PM
                                        Kayla’s iPad

                                        For sure!

                                                  9/15/22, 7:18 PM
8623520947

Ur nuts

                                                  9/15/22, 7:18 PM
8623520947

Spanish people all get them

                                                  9/15/22, 7:18 PM
                                        Kayla’s iPad

                                        LOL my surgery was so scary in Mexico hahahaha

                                                  9/15/22, 7:18 PM
8623520947

I’m telling u

                                                  9/15/22, 7:18 PM
                                        Kayla’s iPad

                                        That’s so scary!

                                                  9/15/22, 7:17 PM
                                        Kayla’s iPad

                                        I wish!

                                                  9/15/22, 7:17 PM
862352

Boob jobs r popular in Mexico

                                                  9/15/22, 7:17 PM
                                        Kayla’s iPad

                                        Hahahahahahahahaha

                                                  9/15/22, 7:17 PM
                                        Kayla’s iPad

                                        Laughed at “Is that a company expense??”

                                                  9/15/22, 7:17 PM
                                        Kayla’s iPad

                                        And hire chicks for ya!

                                                  9/15/22, 7:17 PM
862352

Is that a company expense??

                                                  9/15/22, 7:17 PM
                                        Kayla’s iPad

                                        Ill go at spring break




                                                        105
                                                                                         KM6044
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                                       26
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                                       26
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                                                   26
                                             9/15/22, 9:39 AM
                                                                 Kayla’s iPad

                                                                 We will make it! And it’s going to be great!

                                                                         9/15/22, 9:39 AM
                                                                 Kayla’s iPad

                                                                 I for sure have felt like it’s a lot! But I’m built for it!!!! im a mini you lol

                                                                         9/15/22, 9:39 AM
862352

I’m a big fan!!

                                                                         9/15/22, 9:38 AM
862352

U have been doing all u can

                                                                         9/15/22, 9:38 AM
862352

I’m pushing the shit out of Mindy and Brandy.

                                                                         9/15/22, 9:38 AM
862352

I’m sorry u had all this on ur shoulders

                                                                         9/15/22, 9:38 AM
862352

Yes u need it

                                                                         9/15/22, 9:38 AM
                                                                 Kayla’s iPad

                                                                 I think getting away with my kids will be really good for me

                                                                         9/15/22, 9:38 AM
862352

Must be a hub

                                                                         9/15/22, 9:38 AM
862352

Ok as long as ur ok with it. I will look at the flights. American seems cheaper

                                                                         9/15/22, 9:37 AM
                                                                 Kayla’s iPad

                                                                 I’m trying not to fall down the burned out hole. The money management is stressful. All the
                                                                  change is new! I’m excited about it for sure. And tired. You came in at a good time to help
                                                                  when we needed it most.

                                                                         9/15/22, 9:36 AM
                                                                 Kayla’s iPad

                                                                 I don’t think it’s a waste. You’re the money guy! Whatever you think I’m good with, I like that
                                                                  you come and make a point to Bryan and Jerome that they should have given more attention
                                                                  to HK

                                                         9/15/22, 9:34 AM (Viewed 9/15/22, 9:35 AM)
862352

Just don’t want U and Kaylin and dusty to be alone there

                                                         9/15/22, 9:34 AM (Viewed 9/15/22, 9:35 AM)
862352

If u think me coming is a waste of money I’ll back off




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                                                                                                                                                    KM6057
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                                             8/8/22,26
                                                     6:24 PM
                                              Kayla’s iPad

                                              We make a great team.

                                                      8/8/22, 6:24 PM
                                              Kayla’s iPad

                                              Loved “And thank u for believing in me”

                                                      8/8/22, 6:24 PM
8623520

And thank u for believing in me

                                         8/8/22, 6:22 PM (Viewed 8/8/22, 6:24 PM)
862352

I believed in u the first time I met u

                                                      8/8/22, 6:16 PM
                                              Kayla’s iPad

                                              Believing in me

                                                      8/8/22, 6:12 PM
862352

For what?

                                                      8/8/22, 6:12 PM
                                              Kayla’s iPad

                                              Thank you #

                                                      8/8/22, 6:37 AM
862352

Ok

                                                      8/8/22, 6:36 AM
                                              Kayla’s iPad

                                              Jerome is bringing your lunch also he said

                                         8/8/22, 6:18 AM (Viewed 8/8/22, 6:36 AM)
862352

Yes TY!!

                                                      8/8/22, 6:08 AM
                                              Kayla’s iPad

                                              Sales were great yesterday

                                                      8/8/22, 5:41 AM
                                              Kayla’s iPad

                                              So that was a relief

                                                      8/8/22, 5:41 AM
                                              Kayla’s iPad

                                              Subway

                                                      8/8/22, 5:41 AM
                                              Kayla’s iPad

                                              Yeah Rachel said he gets tuna salad from sublets

                                                      8/8/22, 5:40 AM
862352

He can always eat a salad




                                                             201
                                                                                                 KM6140
